                  ORAL ARGUMENT HELD NOVEMBER 9, 2016

              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                   No. 16-7041


                           SOUNDEXCHANGE, INC.

                                    Appellant,

                                         v.

                                  MUZAK LLC,

                                     Appellee.


          Appeal from the U.S. District Court for the District of Columbia
                             No. 1:15-cv-00476-RCL
                            Judge Royce C. Lamberth


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                      GLOSSARY
PSS   Preexisting subscription service(s)




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            INTRODUCTION AND SUMMARY OF ARGUMENT
      SoundExchange submits this brief in response to the Court’s order dated No-

vember 16, 2016. As explained in greater detail below, SoundExchange responds

to the Court’s questions as follows.

      1.     The source of SoundExchange’s cause of action is the Copyright Act.

Section 114 directs that the rates and terms set by the Copyright Royalty Board “shall

. . . be binding” on services making covered transmissions; envisions that a “non-

profit agent” of copyright owners (here, SoundExchange) will receive and distribute

royalty payments; and provides that this agent may undertake “enforcement” efforts.

Meanwhile, the Board itself lacks enforcement authority, and does not provide a

forum to adjudicate underpayment disputes. The statute, therefore, necessarily au-

thorizes the nonprofit agent to sue a service to collect the royalties payable to it.

Otherwise, the sole means of “enforcement” by the agent would consist of cajoling

and letter-writing.

      2.     Neither the Board nor the Register of Copyrights has jurisdiction to en-

tertain this dispute. Section 114(f)(2)(C) authorizes procedures to determine reason-

able rates and terms if a “new type” of new subscription service becomes operational

at a time when appropriate rates cannot be set in a regularly-scheduled proceeding.

Here, however, rates and terms have already been determined for the two classes of

services at issue (PSS and equivalent new subscription services); the only question


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is which set of rates and terms applies to Muzak’s non-Dish services. Nor, for pur-

poses of Section 114(f)(2)(C), are Muzak’s non-Dish services a “new type” of ser-

vice. The Register’s jurisdiction to decide novel material questions of law, mean-

while, requires the question to arise in an underlying rate-setting proceeding. Be-

cause no such proceeding would have been available to resolve this dispute, no re-

ferral would have been possible. Finally, the Board’s narrow continuing jurisdiction

over prior rate-setting proceedings does not extend to this dispute.

      3.     Even assuming that the Board or the Register would have had jurisdic-

tion to resolve this dispute, the district court still had jurisdiction. Section 803(d)

requires that review of a “determination” under subsection 803(c) take place in this

Court, rather than in a district court. But where no “determination” is being re-

viewed—as here—subsection 803(d) poses no bar to district court jurisdiction, nor

is there any other bar to a district court’s exercise of the same jurisdiction it would

have over any other suit arising under the Copyright Act or other federal law.

      4.     Finally, referral to the Board (or the Register) under the doctrine of pri-

mary jurisdiction would be improper. For one thing, the Board lacks jurisdiction to

address this dispute, so referral would not even be possible. For another thing, even

if the Board or Register would have jurisdiction, referral still would be im-

proper. This case involves interpretation of a statute, not regulations adopted by the

Board, and it certainly does not entail the sorts of policy determinations that often


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prompt referral to an agency. In any event, the Register has already interpreted the

relevant statutory language in a manner that forecloses Muzak’s position here. Re-

ferral would only inject a layer of unnecessary litigation into what should be a

straightforward matter for resolution by this Court.

                                    ARGUMENT

I.    THE SOURCE OF SOUNDEXCHANGE’S CAUSE OF ACTION IS
      THE COPYRIGHT ACT.
      As detailed below, the Copyright Act authorizes SoundExchange to sue a ser-

vice for underpayment of statutory license royalties. It provides that statutory roy-

alty rates and terms “shall. . . be binding” on services like Muzak, 17 U.S.C. § 114(f);

it empowers a “nonprofit agent” (here, SoundExchange) to collect and distribute

royalties for the entire music industry, id. § 114(g)(2), (3); and it specifically con-

templates that the agent will undertake “enforcement” with respect to the rights im-

plicated by the statutory license, id. § 114(g)(3)(C).1

      The Act sets forth the framework for licensing of the rights at issue here. Dig-

ital music services must obtain authorization if they wish to perform copyrighted

sound recordings. See 17 U.S.C. § 106(6) (granting copyright owner the exclusive


      1 Indeed, in the district court, Muzak did not even argue that SoundExchange
lacked authority to bring suit. The presence or absence of a valid cause of action, if
arguable, is not a jurisdictional question. See Int’l Union, Security, Police & Fire
Professionals of Am. v. Faye, 828 F.3d 969 (D.C. Cir. 2016) (considering existence
of implied cause of action as a merits question because plaintiff’s claim was at least
“arguable”).

                                           3
right “to perform the copyrighted work publicly by means of a digital audio trans-

mission”). A service can obtain such authorization in one of two ways: it can nego-

tiate separate licenses with individual copyright owners, or it can take advantage of

the “statutory licens[e],” which guarantees access to all federally-protected commer-

cially-released sound recordings. See id. § 114(d)(2). To rely on the statutory li-

cense, a service must comply with rates and terms prescribed by the Copyright Roy-

alty Board (consisting of three Copyright Royalty Judges). The Board sets “reason-

able rates and terms of royalty payments” in adversarial proceedings that take place

at regularly scheduled intervals. Id. § 114(f). Although sound recording copyrights

typically are owned by record companies, Section 114 also guarantees performing

artists (i.e., singers and musicians) a fixed percentage of statutory license royalties.

Id. § 114(g)(2)(B)-(D).

      SoundExchange plays a specific, statutorily-defined role in the statutory li-

censing scheme. The Copyright Act authorizes a “nonprofit agent” to administer the

statutory license for the entire music industry. See 17 U.S.C. § 114(g)(2), (3).

SoundExchange is that agent. See, e.g., 37 C.F.R. § 383.4; id. § 382.3. In this ca-

pacity, SoundExchange collects royalties from all music services opting for the stat-

utory license, and distributes those royalties to the thousands of performing artists




                                           4
and copyright owners to whom they are due. See 17 U.S.C. § 114(f), (g)(2), (g)(3);

37 C.F.R. §§ 380.4(a), 382.2, 382.4, 382.11, 382.13, 383.4.2

      Section 114(f) makes clear that the rates and terms set by the Board create

legal obligations for licensees. Specifically, the Act provides that those rates and

terms “shall . . . be binding on all copyright owners of sound recordings and entities

performing sound recordings affected by this paragraph.” 17 U.S.C. § 114(f)(2)(B)

(emphasis added); see id. § 114(f)(1)(B); see also 37 C.F.R. § 384.6 (setting forth

procedures for SoundExchange to audit licensees to verify their royalty payments).

      In contrast with agencies that play an enforcement role, however, the Board

does not have authority to enforce the “binding” rates and terms that it sets. Rather,




      2 A brief history helps explain SoundExchange’s present role. In 1995, when
Congress enacted the Digital Performance Right in Sound Recordings Act, the Cop-
yright Act had no specific provision for collective administration of the statutory
license. Congress assumed that services would pay copyright owners directly, or
that collectives would be formed pursuant to voluntary agreements. See 17 U.S.C.
§ 114(e)(1). Finding this system unworkable, services successfully urged the crea-
tion of a collective entity to be officially designated on behalf of all statutory payees.
In 1998, the Copyright Office designated the Recording Industry Association of
America as the sole collective responsible for administration of the statutory license;
and, in 2003, SoundExchange was created and adopted this role. See Notice and
Recordkeeping for Digital Subscription Transmissions, 63 Fed. Reg. 34,289,
34,293-94 (June 24, 1998); see also Determination of Reasonable Rates and Terms
for the Digital Performance of Sound Recordings and Ephemeral Recordings, 67
Fed. Reg. 45,240, 45,266 (July 8, 2002). In the meantime, in 2002, Congress wrote
this collective into the statute, specifically providing that it could engage in “en-
forcement” as well as the collection and distribution of funds. 17 U.S.C. § 114(g)(2),
(3).

                                            5
the statute makes clear that Congress intended SoundExchange to have the power to

enforce those rates and terms. To this end, Section 114(g)(3)(C) provides that the

“nonprofit agent designated to distribute receipts from the licensing of transmis-

sions” (i.e., SoundExchange) is authorized to deduct from the funds it collects the

reasonable costs of “enforcement of rights with respect to . . . performances subject

to licensing” under Section 114. Id. § 114(g)(3)(C); see also U.S. Copyright Office,

Copyright and the Music Marketplace at 48 (Feb. 2015), https://www.copy-

right.gov/policy/musiclicensingstudy/copyright-and-the-music-marketplace.pdf

(explaining that SoundExchange may use unclaimed royalties “to engage in . . . en-

forcement activities”).

      The statutory provisions set forth above compel the conclusion that Congress

intended for SoundExchange to be able to sue to enforce the statutory license’s rates

and terms—and, indeed, that the prospect of such a suit is integral to the statutory

scheme. First, the statute envisions that a nonprofit agent will collect and distribute

royalties, and will “enforce[]” licensees’ “binding” obligations.           17 U.S.C.

§ 114(g)(2), (3); id. § 114(f)(2)(B) (rates and terms “shall be . . . binding” on licen-

sees); see also 37 C.F.R. § 383.4 (designating SoundExchange as “the sole Collec-

tive”); id. § 382.4(a) (requiring that payments be made “to the Collective”). As the

designated collection and distribution agent, SoundExchange plays a role envisioned




                                           6
by the statute and is one of its beneficiaries. See El Paso Natural Gas Co. v. United

States, 750 F.3d 863, 889 (D.C. Cir. 2014).3

      Second, “enforcement” of a “binding” obligation, 17 U.S.C. § 114(f)(1)(B),

(f)(2)(B), (g)(3)(C), must refer to legal action against an entity that fails to pay or

otherwise comply with statutory license provisions. See, e.g., McCoy v. Synchrony

Bank, No. 2:15-CV-13310, 2015 WL 6386554, at *2 (S.D.W. Va. Oct. 21, 2015) (to

be “binding,” something must have “legal force to impose an obligation” (quoting

Black’s Law Dictionary (10th ed. 2014))). Thus, when Congress granted Sound-

Exchange authority to use a portion of the funds it collects for “enforcement” of a

“binding” obligation, it could not have envisioned only toothless methods, like send-

ing strongly-worded letters. Instead, SoundExchange must have authority to “en-

force[]” the “binding” rates and terms in a manner resulting in actual legal conse-

quences for underpayment. See Ray Charles Foundation v. Robinson, 795 F.3d 1109

(9th Cir. 2015) (finding implied cause of action under Copyright Act’s termination



      3 In evaluating the existence of a private right of action, courts consider “(1)
whether the plaintiff is one of the class for whose benefit the statute was enacted; (2)
whether some indication exists of legislative intent, explicit or implicit, either to
create or to deny a private remedy; (3) whether implying a private right of action is
consistent with the underlying purposes of the legislative scheme; and (4) whether
the cause of action is one traditionally relegated to state law.” El Paso Natural Gas,
750 F.3d at 889 (quoting Tax Analysts v. IRS, 214 F.3d 179, 185-86 (D.C. Cir.
2000)). The analysis in text is directed towards the first three of these factors. As
to the fourth, enforcement of federally established rates and terms is not a cause of
action traditionally left to the states.

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provisions, because “the statutes plainly accord authors and statutory heirs the ability

to terminate prior grants and recapture copyright ownership for works that were not

made for hire”). Section 114 of the Act thus “displays an intent to create not just a

private right but also a private remedy,” Alexander v. Sandoval, 532 U.S. 275, 286

(2001)—namely, “enforcement” by SoundExchange, the sole collective for receipt

of all statutory license royalties.4

      Third, Congress delegated only a limited set of functions to the Board itself.

See 17 U.S.C. § 801(b) (enumerating functions). As relevant here, the statute au-

thorizes the Board to determine rates and terms, and to take various auxiliary steps.

See 17 U.S.C. § 801(b)(1), (5), (7), (c). id. § 114(f). It does not authorize the Board

to take any action to enforce the rates and terms it sets.5 See Determination of Roy-




      4 That there is only one entity empowered to enforce the requirement to pay
royalties to SoundExchange, moreover, means that there is no threat of excessive
litigation—a conclusion that comports with the “narrow scope that [courts] must
give the implied private right of action.” Janus Capital Grp., Inc. v. First Deriva-
tive Traders, 564 U.S. 135, 144 (2011).
      5 Although Congress has given the Copyright Office and the Board certain
other powers unrelated to Section 114, none of these grants of authority is relevant
here. See, e.g., 17 U.S.C. §§ 701, 702 (giving the Register various administrative
responsibilities); 17 U.S.C. §§ 801(b) (empowering the Board to handle certain types
of proceedings unrelated to this dispute). The Copyright Act does not give the Reg-
ister or the Board general adjudicatory authority. See, e.g., The Register of Copy-
rights’ and the Copyright Royalty Judges’ Authority to Determine the Constitution-
ality of 17 U.S.C. 114(f)(5), 75 Fed. Reg. 26,278, 26,280 (May 11, 2010) (no Board
                                           8
alty Rates and Terms for Ephemeral Recording and Webcasting Digital Perfor-

mance of Sound Recordings, 81 Fed. Reg. 26,316, 26,401 n.228 (May 2, 2016) (as-

suming that underpayment disputes would be commenced in “a court of competent

jurisdiction,” not before the agency). This case thus differs significantly from ones

in which courts have declined to find private rights of action that are not expressly

stated. See, e.g., Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1385

(2015) (no private right of action where HHS Secretary has enforcement power);

Sandoval, 532 U.S. at 288-89 (no private right of action where federal agency has

enforcement power); Gov’t of Guam v. Am. President Lines, 28 F.3d 142, 147 (D.C.

Cir. 1994) (finding no evidence “to suggest that Congress intended to imply an ad-

ditional remedy to the express administrative remedy it provided . . . in the Shipping

Acts”); Tax Analysts v. IRS, 214 F.3d 179, 186 (D.C. Cir. 2000) (no private right of

action where “Congress provided an enforcement mechanism of IRS-imposed civil

fines and penalties”).

      Finally, without a right to sue for royalty underpayment, the only recourse for

a music service’s underpayment of royalties would be a copyright infringement suit.

But infringement suits can be brought only by the owners of exclusive rights under

copyright. See 17 U.S.C. § 501(b); Authors Guild Inc. v. HathiTrust, 755 F.3d 87



or Register authority under the Copyright Act to adjudicate constitutionality of
Webcaster Settlement Act).

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(2d Cir. 2014). They cannot be brought by SoundExchange, which does not have

exclusive rights to the copyrights in the sound recordings covered by the statutory

license. See WTGD 105.1 FM v. SoundExchange, Inc., 88 F. Supp. 3d 580, 585-86

(W.D. Va. 2015) (finding no case or controversy between SoundExchange and ser-

vice seeking to make exempt transmissions, where dispute involved a claim of in-

fringement rather than a breach of the statutory license). Accordingly, infringement

suits cannot be the type of “enforcement” by the “nonprofit agent” that Congress

contemplated in Section 114.6

II.   NEITHER THE COPYRIGHT ROYALTY BOARD NOR THE
      REGISTER OF COPYRIGHTS WOULD HAVE JURISDICTION
      TO ENTERTAIN THIS DISPUTE.

      A.     The Copyright Royalty Board Lacks Authority To Entertain This
             Dispute, And Section 114(f)(2)(C) Does Not Provide Otherwise.
      Section 114(f) authorizes the Board to set rates and terms of royalty payments

for certain types of services, including both “preexisting subscription services”




      6 As a practical matter, moreover, infringement suits by one or more copyright
owners could not easily remedy underpayment of royalties at the “binding” rates and
terms. Because copyright owners can bring infringement suits only with respect to
the specific sound recordings they own, infringement suits by particular owners
could not redress underpayments on an industrywide basis—the very basis upon
which licensees are required to make payments in the first place. Recording artists,
for their part, typically cannot sue for infringement at all, because they typically do
not own copyrights. Yet they, too, are entitled to a substantial share of royalties,
separate from the share designated for copyright owners. See 17 U.S.C.
§ 114(g)(2)(D) (entitling recording artists to 45 percent of royalty distributions).

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(PSS) and “new subscription services.” See 17 U.S.C. § 114(f)(1)(A), (B) (address-

ing PSS); id. § 114(f)(2)(A), (B) (addressing new subscription services). These rate-

setting matters are elaborate, trial-type proceedings that occur at regular intervals.7

By statute, each proceeding extends over a two-year period with numerous interim

milestones. See 17 U.S.C. § 114(f)(1), (2); 17 U.S.C. § 803 (setting forth procedures

for proceedings, including publication of notice in the Federal Register, opportunity

for petitions to participate, three-month voluntary negotiation period, filing of writ-

ten direct and rebuttal cases, written discovery and depositions, and presentation of

evidence at a hearing); 37 C.F.R. Part 351 (Board rules for the conduct of proceed-

ings). The proceedings establish detailed rate regulations for each license category,

with each covering a five-year period. See, e.g., 37 C.F.R. § 382.3(a) (PSS rate

schedule); 37 C.F.R. § 383.3(a)(1) (new subscription services rate schedule).

      The statutory provisions cited above do not provide a mechanism for resolving

underpayment disputes, including this one. They authorize the Board to “determine

reasonable rates and terms of royalty payments” for the statutory license. 17 U.S.C.

§ 114(f)(1)(A); id. § 114(f)(2)(A); see also id. § 801(b)(1). But they do not permit




      7 The Copyright Royalty Board hears rate-setting matters for each broad cat-
egory of service once every five years, and these proceedings are staggered so that
rates and terms for different categories are litigated in different years. 17 U.S.C.
§ 804(b).

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the Board to adjudicate disputes over rate schedules that have already been set, in-

cluding disputes over which rate schedules applies to a particular service. Nor, as

explained above, does the Board have authority to enforce the rates that it sets.

      Section 114(f)(2)(C) likewise does not authorize the Board to resolve this dis-

pute. That section allows for the initiation of an additional rate-setting proceeding—

not on the five-year cycle envisioned by Section 114(f)(2)(A) and (B)—when “a new

type of eligible . . . new subscription service on which sound recordings are per-

formed is or is about to become operational.” 17 U.S.C. § 114(f)(2)(C); see id. (ab-

sent agreement by the parties, rate-setting procedures shall be “for the period begin-

ning with the inception of such new type of service and ending on the date on which

the royalty rates and terms for eligible nonsubscription services and new subscrip-

tion services, as the case may be, most recently determined under subparagraph (A)

or (B) and chapter 8 expire”).8 That provision is inapplicable here, for two reasons.

      First, there is no need to “determine reasonable rates and terms of royalty pay-

ments” (the undertaking that Section 114(f)(2)(C) envisions, by virtue of incorpo-

rating “[t]he procedures under subparagraph (A) and (B)”) for Muzak’s non-Dish




      8 Section 114(f)(1)(C)— which applies to preexisting subscription services,
rather than new subscription services—contains a parallel rate-setting provision ap-
plicable to a “new type of” preexisting subscription service. The analysis set forth
in text applies equally to the question of whether Section 114(f)(1)(C) could apply
in these circumstances.

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services. The Board determines rates and terms for particular classes of services,

not for individual services. And here, it has already done so both for PSS and for

equivalent new subscription services. See 78 Fed. Reg. 23,054 (setting royalty rates

for PSS through 2017); 80 Fed. Reg. 36,927 (setting royalty rates for new subscrip-

tion services through 2020); see also 37 C.F.R. §§ 382.3(a); 37 C.F.R. § 383.3(a)(1).

The only question in this case is which set of rates and terms applies to Muzak’s

non-Dish services.9

      Second, even assuming that some circumstances might bring classification de-

cisions within the scope of Section 114(f)(2)(C), this case presents no such circum-

stances. Section 114(f)(2)(C) envisions procedures only when a “new type” of new

subscription service becomes operational—and Muzak’s non-Dish services are not

a “new type” of service under either party’s view.10 SoundExchange’s position is




      9 Although this Court’s supplemental briefing order appears to equate resolu-
tion of this dispute with a “determin[ation] [of] the appropriate rate due to appellant,”
SoundExchange respectfully submits that this premise does not reflect the statutory
rate-setting scheme. “Determination” of rates, as explained above, refers to the pro-
cess by which the Board establishes a rate schedule applicable to a particular class
of services. Such a determination might set the rate as, for instance, a particular
percentage of revenues, a particular amount per performance, or a particular amount
per subscriber. What is at issue here is which of the already-determined rate sched-
ules applies to Muzak’s non-Dish offerings.
      10 A “new type” of service is a concept distinct from the term “new subscrip-
tion service.” The former addresses the rare circumstance in which an existing rate
structure does not appropriately address a new type of service, so that a rate for that
type of service must be set for the remainder of the then-current five-year rate period.
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that these services are the same subscription services that DMX previously offered,

and that they should continue to be subject to new subscription service rates. See

SoundExchange Br. 15-17. Muzak’s position is that its non-Dish transmissions

should be subject to PSS rates because they are the same subscription service it has

long offered, or because they are equivalent to the service it offers over Dish. See

Muzak Br. 16-18. Put differently, although the parties dispute whether Muzak must

pay at the PSS rate or at the new subscription services rate, there is no dispute that

the “type” of service Muzak offers is not “new.” The Board has already determined

the relevant rates, and the only question is which rate applies here.

      B.     The Register Of Copyrights May Not Resolve This Dispute.

      The Register of Copyrights also lacks authority to resolve this dispute. Sec-

tion 802(f)(1)(B)(i) provides that, where the Board confronts “a novel material ques-

tion of substantive law,” it “shall request a decision of the Register of Copyrights, in

writing, to resolve such novel question.” 17 U.S.C. § 802(f)(1)(B)(i). This provision

is inapplicable here, for two reasons.




See id. §§ 114(f)(1)(C), (2)(C), 804(b)(3)(C). The latter, by contrast, refers to a cat-
egory of services that are “new” relative to the grandfathered preexisting subscrip-
tion services. See id. § 114(j)(8), (11).

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      First, the procedural predicate for referral is absent. Section 802(f)(1)(B)(i)

does not give the Register freestanding jurisdiction to resolve legal questions. In-

stead, a question can be referred to the Register only if it “arise[s] in the course of”

an existing proceeding before the Board. 17 U.S.C. § 802(f)(1)(A)(ii); see id.

§ 802(f)(1)(B) (envisioning referral “[i]n any case in which a novel material ques-

tion of substantive law concerning an interpretation of those provisions of this title

that are the subject of the proceeding is presented” (emphasis added)); see also Des-

ignation as a Preexisting Subscription Service, 71 Fed. Reg. 64,639, 64,639 (Nov.

3, 2006) (noting that the Board may request a decision of the Register “[i]n any case

in which a novel question of law concerning an interpretation of a provision of the

Copyright Act is presented in a ratesetting proceeding” (emphasis added)). Indeed,

Section 802(f)(1)—of which Section 802(f)(1)(B) is a part—is headed “In making

determinations.” Here, at the time of this lawsuit, no rate-setting proceeding was

ongoing before the Board—nor, as explained above, would Section 114(f) have per-

mitted initiation of such a proceeding to resolve this dispute. See Copyright Royalty

Judges' Ability To Set Rates and Terms That Distinguish Among Different Types or

Categories of Licensors, 80 Fed. Reg. 76,577 (Dec. 9, 2015) (finding referral im-

proper where not sufficiently related to pending rate proceeding).

      The Register’s 2006 decision concerning PSS eligibility contrasts sharply

with the circumstances giving rise to the present dispute, and underscores the need


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for an underlying rate-setting proceeding as a precondition of referral. In 2006, a

rate-setting proceeding for PSS was ongoing before the Board, and a threshold ques-

tion arose regarding whether DMX and Sirius Satellite Radio were entitled to par-

ticipate. See Digital Performance Right in Sound Recordings and Ephemeral Re-

cordings for a New Subscription Service, 72 Fed. Reg. 63,532 (Nov. 9, 2007); 71

Fed. Reg. 64,639; Digital Performance Right in Sound Recordings and Ephemeral

Recordings for a New Subscription Service, 70 Fed. Reg. 72,471 (Dec. 5, 2005).

The Board referred that question to the Register, who resolved it. See 71 Fed. Reg.

at 64,639. Here, by contrast, the dispute between the parties did not arise in a rate-

setting proceeding, so referral to the Register would not have been possible.11

      Second, even setting aside that fundamental procedural obstacle, the question

this case presents is not novel. Section 802(f)(1)(B)(ii) defines a “novel question of

law” as one “that has not been determined in prior decisions, determinations, and




      11 In January 2016, the Board invited petitions to participate in Determination
of Royalty Rates and Terms for Transmission of Sound Recordings by Satellite Radio
and “Preexisting” Subscription Services (“SDARS III”), the proceeding that will de-
termine rates and terms for satellite radio services and PSS for the 2018-2022 rate
period. Trial is scheduled for April 2017, with the Board scheduled to issue a rate
determination towards the end of 2017. That proceeding would not be a proper set-
ting to resolve the question at issue here: this dispute arises not from the rate-setting
for 2018-2022, but from Muzak’s underpayments during the 2013-2017 rate period.
Indeed, the Board did not call for petitions to participate in the SDARS III proceeding
until January 2016, well after this litigation had commenced. Muzak, for its part,
has formally withdrawn from participation in SDARS III.

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rulings described in section 803(a).” 17 U.S.C. § 802(f)(1)(B)(i); see id. § 803(a)(1)

(listing determinations including “prior determinations and interpretations . . . of . . .

the Register of Copyrights”); see 71 Fed. Reg. at 64,639 (citing definition). Here,

the Register has already addressed whether Muzak’s non-Dish services are eligible

for PSS rates. Specifically, in 2006, she held that the universe of PSSs was limited

to, inter alia, “Muzak (provided over the Dish Network),” and further explained that

Muzak could benefit from PSS rates “so long as it provided its services over the Dish

Network.” See id. at 64,646-47. Whether Muzak can pay PSS rates for services not

provided over the Dish Network is therefore not a novel question.

      C.     The Board’s Continuing Jurisdiction Does Not Apply Here.

      Finally, the Board would not have continuing jurisdiction to resolve this dis-

pute by way of reopening a prior rate determination. Section 803(c)(4) gives the

Board “continuing jurisdiction” to amend its written determinations only in two nar-

row respects: (1) “to correct any technical or clerical errors in the determination”;

and (2) “to modify the terms, but not the rates, of royalty payments in response to

unforeseen circumstances that would frustrate the proper implementation of such

determination.” 17 U.S.C. § 803(c)(4) (emphasis added). Neither of these categories

of continuing jurisdiction applies here, for SoundExchange’s lawsuit poses a legal

question regarding the meaning of the Copyright Act, not any aspect of any rate




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determination. Answering this question, moreover, cannot be characterized as cor-

rection of a “technical” or “clerical” error. It also cannot be characterized as a mod-

ification of the “terms” of royalty payments: this dispute concerns how much Muzak

should pay, not the terms on which it must make payment.

       This case differs significantly from the dispute addressed in Scope of the Cop-

yright Royalty Judges’ Continuing Jurisdiction, 80 Fed. Reg. 25,333 (May 4, 2015).

There, the Register concluded that the Board’s continuing jurisdiction gave it au-

thority to clarify the regulations adopted in an earlier proceeding—specifically, the

technicalities of the definition of “gross revenues” used in calculating satellite radio

royalties. See id. at 25,335 (concluding that “the CRJs’ power to ‘correct any tech-

nical . . . errors’ in determinations encompasses the power to resolve ambiguity in

the meaning of regulations adopted pursuant to those determinations”). The instant

dispute, by contrast, involves a question of statutory interpretation, not the meaning

of any regulation.

III.   REGARDLESS OF WHETHER THE BOARD OR REGISTER
       WOULD HAVE HAD JURISDICTION TO RESOLVE THIS
       DISPUTE, THE DISTRICT COURT HAD JURISDICTION.

       This case arises under federal law and, in particular, arises under the Copy-

right Act. Jurisdiction consequently existed in the district court. See 28 U.S.C.




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§ 1331 (federal question jurisdiction); id. § 1338(a) (copyright question jurisdic-

tion). That is true regardless of whether the Board or Register might have had juris-

diction to address the dispute between the parties.

      First, the review procedures of 17 U.S.C. § 803(d)(1) would not have deprived

the district court of jurisdiction. A rate-setting determination by the Board is, of

course, directly reviewable only by this Court, in a challenge brought “by any ag-

grieved participant . . . who fully participated in the proceeding and who would be

bound by the determination.” 17 U.S.C. § 803(d)(1). Section 803(d) forecloses dis-

trict court review of a subsection (c) “determination.” But that is the full extent of

this Court’s direct statutory jurisdiction with respect to the Board. Indep. Producers

Grp. v. Librarian of Congress, 759 F.3d 100, 105 (D.C. Cir. 2014) (“Congress was

explicit that this court has statutory jurisdiction only to review a ‘determination’ by

the Royalty Judges.”); see id. (determination must be “under subsection (c)” of Sec-

tion 803 (quoting 17 U.S.C. § 803(d))). Here, SoundExchange could not have come

straight to this Court because there is no subsection (c) determination by which it is

“aggrieved,” as required by Section 803(d)(1).

      Precisely because review was unavailable here under Section 803(d), that pro-

vision did not limit SoundExchange’s ability to pursue this dispute in the district

court. Despite barring district court review of a subsection (c) “determination,” Sec-




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tion 803(d) does not foreclose district court actions that otherwise implicate deci-

sions made by the Board, or that concern issues that might come before the Board.

See NBC v. Copyright Royalty Tribunal, 848 F.2d 1289, 1295-96 (D.C. Cir. 1988)

(noting that Section 803(d) “leaves the parties [with claims outside of that review]

free to litigate their . . . claims in an appropriate forum,” and pointing to both state

court and copyright question jurisdiction under 28 U.S.C. § 1338(a) as examples);

cf. Live365, Inc. v. Copyright Royalty Board, 698 F. Supp. 2d 25, 32 (D.D.C. 2010)

(exercising jurisdiction over an Appointments Clause challenge to the Board because

such a challenge is not an appeal from a “determination” of the Board, even though

the challenge targeted a particular ongoing rate proceeding).

      Second, there is no other reason to conclude that, even assuming that the

Board or Register could entertain this dispute, their ability to do so deprived the

district court of jurisdiction here. The statute offers no reason to think that agency

jurisdiction over such a dispute would be exclusive of district court jurisdiction to

address a royalty underpayment claim. Compare, e.g., Thunder Basin Coal Co. v.

Reich, 510 U.S. 200 (1994). At most, the existence of agency jurisdiction here could

warrant consideration of whether the matter should be referred to the Board as a

matter of primary jurisdiction, with judicial proceedings stayed in the interim.12 But




      12 For the reasons discussed below, referral would be improper here.

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even referral under that doctrine would not mean that the district court lacked juris-

diction in the first instance. See, e.g., Comcast Corp. v. FCC, 600 F.3d 642, 648

(D.C. Cir. 2010) (“The question of whether an issue is within [an] agency’s primary

jurisdiction is different from the question of whether the agency actually has exclu-

sive statutory jurisdiction to resolve an issue.” (quoting 2 Richard J. Pierce, Jr., Ad-

ministrative Law Treatise § 14.1, at 1162 (5th ed. 2010) (bracket in original)); Allnet

Comm’n Serv., Inc. v. Nat’l Exch. Carrier Ass’n,, 965 F.2d 1118, 1120 (D.C. Cir.

1992).

IV.   REFERRAL UNDER THE DOCTRINE OF PRIMARY
      JURISDICTION WOULD BE IMPROPER.
      The doctrine of primary jurisdiction is a narrow one, applying only when ad-

judicating a claim “would require the resolution of issues which, under a regulatory

scheme, have been placed within the special competence of an administrative body.”

United States v. W. Pac. R.R. Co., 352 U.S. 59, 64 (1956). Here, referral to the Board

or the Register under that doctrine would be improper because, among other things,

(1) the Board and Register lack jurisdiction to address this dispute; (2) this dispute

involves a pure question of statutory interpretation; and (3) the Register already has

interpreted the provision at issue in a manner foreclosing Muzak’s claim of broad

PSS eligibility.




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      First, as explained in Part II above, neither the Board nor the Register would

have jurisdiction to resolve this dispute. This hurdle alone makes invocation of pri-

mary jurisdiction impossible. Indeed, “[w]here no administrative remedy exists, the

doctrine of primary jurisdiction does not apply.” United States v. Elrod, 627 F.2d

813, 818 (7th Cir. 1980); see id. (“Uncertainty as to the scope of [the agency’s] ad-

ministrative authority thus militates against initial resort to the agency here.”); Mon-

tana-Dakota Utils. Co. v. Nw. Pub. Serv. Co., 341 U.S. 246, 254 (1951) (“[W]e know

of no case where the court has ordered reference of an issue which the administrative

body would not itself have jurisdiction to determine in a proceeding for that pur-

pose.”); Local Union No. 189, Amalgamated Meat Cutters v. Jewel Tea Co., 381

U.S. 676, 687 (1965) (rejecting primary jurisdiction argument “because of the ab-

sence of an available procedure for obtaining a Board determination”); Allied Air

Freight, Inc. v. Pan Am. World Airways, Inc., 393 F.2d 441, 448 (2d Cir. 1968) (de-

clining to invoke primary jurisdiction when the agency was “unable to give the relief

which appellant seeks” because it “ha[d] no power to award damages for unfair com-

petitive practices”).

      Even if referral to the Board or Register were possible, moreover, it still would

not be appropriate in this case. SoundExchange’s claim against Muzak calls upon

the Court to interpret the language of the Copyright Act—not to interpret technical




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regulations or to make policy judgments about specialized issues.13 Courts routinely

interpret the Act without suggesting that doing so lies outside the realm of judicial

expertise. See, e.g., Arista Records, LLC v. Launch Media, Inc., 578 F.3d 148, 154

(2d Cir. 2009) (interpreting meaning of “interactive service” in Section 114(j));

Schnapper v. Foley, 667 F.2d 102, 108 (D.C. Cir. 1981) (interpreting provision ad-

dressing registration of government-commissioned works); Fox Television Stations,

Inc. v. FilmOn X LLC, 150 F. Supp. 3d 1, 6 (D.D.C. 2015) (analyzing whether ser-

vice operated “cable systems” within the meaning of § 111).

      The district court’s decision in SoundExchange’s underpayment case against

Sirius XM in no way supports a different conclusion. That case involved a dispute

as to the meaning of the Board’s technical regulations, which the district court con-

cluded were “ambiguous and do not, on their face, make clear whether Sirius XM’s

approaches [to calculating revenue] were permissible.” SoundExchange, Inc. v. Sir-

ius XM Radio Inc., 65 F. Supp. 3d 150, 155 (D.D.C. 2014); see also id. at 156 (noting



      13 Referral on primary jurisdiction grounds can be appropriate in two narrow
circumstances: where an issue requires “the expert and specialized knowledge of the
agencies,” or where there is a need for “uniformity [of outcomes] which would ob-
tain if initially a specialized agency passed on certain types of administrative ques-
tions,” Kappelmann v. Delta Air Lines, Inc., 539 F.2d 165, 169 (D.C. Cir. 1976)
(quotation marks omitted); see Allnet Commc’n Serv., Inc., 965 F.2d at 1120. Nei-
ther of these grounds applies here. SoundExchange’s underpayment claim requires
this Court not to make policy, but to interpret statutory language in a manner con-
sistent with the position that the agency has previously taken. Further, any risk of
non-uniform outcomes is minimal because Muzak is one of only two remaining PSS.

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that the Board “heard weeks of testimony and reviewed scores of exhibits submitted

by these two parties” in two prior proceedings that determined the rates and terms at

issue); 80 Fed. Reg. at 25,335. Because of the nature of the parties’ dispute, the

district court referred the matter to the Board under the doctrine of primary jurisdic-

tion. This case, by contrast, does not involve the interpretation of any regulations,

let alone ambiguous ones. Instead, it requires the Court to interpret the statutory

definition of “preexisting subscription service.”14

      The inappropriateness of referral here is underscored by the fact that the Reg-

ister has already interpreted Section 114(j)(11). The Register ruled in 2006 that “the

universe of preexisting subscription services” is “limited by law to only Muzak (pro-

vided over the DiSH Network), Music Choice, and DMX.” 71 Fed. Reg. at 64,647

(emphases added); see also id. at 64,646 (concluding that Muzak may benefit from

PSS status only “so long as it provide[s] its music offerings over the DiSH Net-

work”); SoundExchange Br. 30-36; SoundExchange Reply Br. 14-20. In light of the




      14 SoundExchange believes that the referral of its underpayment case against
Sirius XM to the Board was erroneous. Courts often resolve private parties’ disputes
about the meaning of a regulation, even when an agency might also have occasion
to do so. See, e.g., Lee v. Hartford Life & Acc. Ins. Co., 928 F. Supp. 2d 51, 54-57
(D.D.C. 2013); Etheridge v. FedChoice Fed. Credit Union, 789 F. Supp. 2d 27, 36-
39 (D.D.C. 2011). In any case, the referral decision in SoundExchange v. Sirius XM
is fully inapposite here, for the reasons discussed above.

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2006 ruling, referral here would be unnecessarily time-consuming and wasteful.15

See W. Pac. R.R., 352 U.S. at 69 (stressing that “there would be no need to refer [a]

matter of construction to the [agency] if that body, in prior releases or opinions, has

already construed the particular tariff at issue or has clarified the factors underlying

it.”).

                                    CONCLUSION
         For the foregoing reasons, as well as those in SoundExchange’s opening and

reply briefs, jurisdiction is proper and the district court’s decision should be re-

versed.


January 3, 2017                               Respectfully submitted,


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         15 If anything, referral of this matter despite the Register’s 2006 ruling would
create undesirable incentives for services using the statutory license. Such a result
would incentivize services to adopt aggressive and dubious approaches to payments,
regardless of past rulings—knowing that any enforcement procedures would be
costly and cumbersome for SoundExchange.

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26
                         CERTIFICATE OF COMPLIANCE
      I, David A. Handzo, in reliance on the word count of the word processing

system used to prepare this brief, certify that the foregoing brief contains 6,211

words, excluding the parts of the brief exempted by Federal Rule of Appellate Pro-

cedure 32(a)(7)(B)(iii), and thus complies with the word limit in the Court’s supple-

mental briefing order.

      This brief complies with the typeface requirements of Federal Rule of Appel-

late Procedure 32(a)(5) and the type style requirements of Federal Rule of Appellate

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      I, David A. Handzo, hereby certify that on this 3rd day of January, 2017, a

true and correct copy of the foregoing was filed with the Clerk of the United States

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